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IN THE UNTTED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEEUG 1111 f 16
WESTERN DIVISION

 

LECTROLARM CUSTOM SYSTEMS, INC.

Plaintiff,

Vs. NO. 03-2330~Ma/A

VICON lNDUSTRIES, INC., et a].

Defendants.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Before the court is the April 8, 2005, motion for permission to participate in a particular
case filed by James E. Hanft. Mr. Hanft is a member in good standing ofthe bar ofthe State ot`
New York and is admitted to practice before the United States District Courts for the Southern
and Eastern Districts ofNew York. Mr. Hant"t obtained and is familiar with the local rules and
professional guidelines of this court. For good cause shown, the motion is granted and J ames E.

Hanft is admitted to participate in this action as counsel for defendant Vicon lndustries, Inc.

JAVM.___Q_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

lt is so ORDERED this lsdéiay ofMay, 2005.

 

the docket sheet in compliance

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Honorable Samuel Mays
US DISTRICT COURT

